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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF LOUISIANA
                                MONROE DIVISION

UNITED STATES OF AMERICA                                  *    CRIM. ACTION NO. 06-30046-03

VERSUS                                                    *    JUDGE JAMES

STEVE A. GOLDSBY                                          *    MAGISTRATE JUDGE HAYES


                                              ORDER

       Before the undersigned Magistrate Judge, on reference from the District Court, is a

Motion to Suppress filed by defendant, Steven A. Goldsby. [Document No. 82].

       The law in this circuit provides that a “motion to suppress must in every critical respect

be sufficiently definite, specific, detailed and non-conjectural to enable the Court to conclude that

a substantial claim is presented . . . . In short, the motion must allege facts which, if proven,

would provide the basis for relief.” United States v. Richardson, 764 F.2d 1514, 1527 (5th Cir.

1985), and cases cited therein. Furthermore, under Fed.R.Crim.P. 41(e), an evidentiary hearing

is required on a motion to suppress only when necessary to receive evidence on an issue of fact.

United States v. Harrelson, 705 F.2d 733 (5th Cir. 1983). The defendant in this case has

submitted no memorandum supporting his motion to suppress, and the motion itself fails to

assert the factual basis of his claim. In order to enable this Court to accurately determine whether

an evidentiary hearing is warranted, defense counsel shall submit a memorandum in support of

the previously filed motion to suppress containing the following:

       (a)     A statement of the issue or issues presented;

       (b)     A statement of the facts; (Counsel shall not include legal conclusions in the

               statement of facts. For example, a statement of facts should not include a

               statement that a search was unconstitutional or that probable cause did not exist to
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              support an arrest, etc.)

       (c)    A statement identifying the specific factual disputes which justify an evidentiary

              hearing under Fed.R.Crim.P. 41(e);

       (d)    A list of pertinent United States Supreme Court and/or federal appellate citations

              of authority which support the defendant's motion; and

       (e)    Argument and conclusion.

       IT IS HEREBY ORDERED that the defendant submit the memorandum as outlined

above within ten days, or by February 2, 2007.

       THUS DONE AND SIGNED at Monroe, Louisiana, this 23rd day of January, 2007.
